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 8                                UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    MARLON L. ROBERSON,                              No. 2:22-cv-01557 DAD DB P
12                       Petitioner,                   No. 2:22-cv-00519 DAD DB P

13              v.                                     ORDER
14    PEOPLE OF THE STATE OF
      CALIFORNIA, et al.,
15
                         Respondents.
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18          Petitioner is a state prisoner proceeding pro se. On October 23, 2023, petitioner filed a

19   request for an expedited decision of his habeas petition. (ECF No. 20.) On December 6, 2023,

20   petitioner filed another request to expedite in his Motion to Construe. (ECF No. 22.) Petitioner’s

21   request for an expedited decision states he has completed the prison term he was required by law

22   to serve and is now serving an unjust an unlawful second sentence for the same offense. On

23   February 9, 2024, respondent filed a motion to consolidate cases asserting petitioner has multiple

24   petitions pending before this court and the successive petition should be construed as an amended

25   petition. (ECF No. 27.) For the reasons stated below the undersigned Denies petitioner’s motions

26   for an expedited decision (ECF Nos. 20, 22), and Grants respondent’s motion to consolidate (ECF

27   No. 27).

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     Case 2:22-cv-01557-DAD-DB Document 29 Filed 06/07/24 Page 2 of 3


 1                                          Motions to Expedite

 2          The court does not have a separate “expedited” calendar. The court understands

 3   petitioner’s need and desire to have his case decided quickly as he believes relief is warranted.

 4   However, the court has pending before it many habeas cases wherein each prisoner alleges relief

 5   is warranted and warranted immediately. The court’s case management generally proceeds by the

 6   order in which cases are received. Due to the high volume of cases and the court’s diligent

 7   handling of each case, a court decision often takes time. Additionally, it has often been noted that

 8   judges in the Eastern District of California carry among the heaviest caseloads in the nation.

 9   Petitioner’s motion will be denied insofar as he seeks to impose different time frames than the

10   court is able to provide. The petition will be considered in due course.

11                                         Motion to Consolidate

12          Examination of the instant petition and the petition in Case No. 2:22-cv-00519-DAD-DB

13   reveals that both cases challenge aspects of petitioner’s trial and sentencing in California Superior

14   Court, Sacramento County case numbers 16FE022744 and 18FE019409. Given that the two

15   petitions involve common questions of fact and law, the Court finds that they should be

16   consolidated under Federal Rule of Civil Procedure 42(a). The Clerk will be directed to

17   administratively close the file in Case No. 2:22-cv-01557-DAD-DB, and all future pleadings shall

18   be filed in Case No. 2:22-cv-00519-DAD-DB.

19   For the reasons set forth above, IT IS HEREBY ORDERED that:

20          1) Petitioner’s requests for expedited decisions (ECF No. 20, 22) are DENIED;
21          2) This action, 2:22-cv-01557-DAD-DB, is consolidated with petitioner’s habeas petition

22              at Case No. 2:22-cv-00519-DAD-DB. In accordance with this order,

23                  a. Case No. 2:22-cv-00519-DAD-DB is designated as the “master file”;

24                  b. The Clerk is directed to copy the petition and the other pertinent documents in

25                      Case No. 2:22-cv-00519-DAD-DB and to place said copies in the “master

26                      file”;
27                  c. The Clerk is directed to administratively close Case No. 2:22-cv-01557-DAD-

28                      DB;
                                                        2
     Case 2:22-cv-01557-DAD-DB Document 29 Filed 06/07/24 Page 3 of 3


 1                       d. The parties are directed to file all future pleadings ONLY in Case No. 2:22-cv-

 2                            00519-DAD-DB; and

 3                       e. To ensure Petitioner’s claim is clear and complete Petitioner is directed to file

 4                            an amended petition within sixty days to ensure there is one operative petition.

 5    Dated: June 6, 2024

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